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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 COURTNEY R. WEBB,

       Plaintiff,                                  Civil Action No: 2:21-cv-01739
 vs.

 CLAIRTON CITY SCHOOL DISTRICT,

       Defendant


  DEFENDANT’S BRIEF IN SUPPORT OF ITS MOTION TO DISMISS PLAINTIFF’S
             SECOND AMENDED COMPLAINT PURSUANT TO
       RULE 12(B)(6) OF THE FEDERAL RULES OF CIVIL PROCEDURE

        Defendant, Clairton City School District (hereinafter the “District”), by and through its

attorneys, Andrews & Price, LLC, files the following Brief in Support of the District’s Motion to

Dismiss Plaintiff’s Second Amended Complaint Pursuant to Rule 12(b)(6) of the Federal Rules of

Civil Procedure:

                                     I.      BACKGROUND


        This action was commenced in the Court of Common Pleas of Allegheny County, PA, by

Praecipe for Writ of Summons filed on August 11, 2021, at docket number GD-21-9561 (ECF No.

1-2). Plaintiff filed a Complaint on November 1, 2021 (ECF No. 1-1). Defendant removed this

case to federal court on November 30, 2021 (ECF No. 1). Plaintiff filed an Amended Complaint

on January 17, 2022 (ECF No. 12). Plaintiff filed a Second Amended Complaint on March 17,

2022 (ECF No. 20). As required by Rule 12(b)(6) of the Federal Rules of Civil Procedure,

Defendant assumes Plaintiff’s, allegations to be true, and views all facts in the light most favorable
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to her. Viewed according to these standards, the facts affecting Plaintiff’s claims against the

Defendant are construed as follows for purposes of resolving the Motion to Dismiss.1

       Plaintiff is an African American woman who was, at all relevant times, an employee at

Defendant School District. (Amended Complaint, hereinafter “AC” ¶¶6, 8). Defendant District is

a municipal agency of the municipality of Clairton, Pennsylvania. (AC, ¶7). Starting on January

19, 2015, Plaintiff was employed as the Confidential Secretary to the Director of Federal Programs

& Curriculum. (AC, ¶16). In her Second Amended Complaint, Plaintiff generally asserts that,

“during her employment with Defendant, Plaintiff was subjected to various instances that created

a hostile work environment for her.” (AC, ¶17).

       Specific examples of the alleged conduct of the District which contributed to the hostile

work environment included: a) during August/September and March/April of each school year,

the District’s Superintendent asked Plaintiff to carry the Superintendent’s personal shopping bags

(AC, ¶¶19-20); b) the District assigned Plaintiff tasks that were not part of Plaintiff’s job

responsibilities, including being asked to clean an empty swimming pool that was being used to

store old textbooks on August 2, 2017 and August 16, 2017 and being asked to sell tickets to school

football games “during the 2017 football season” until she resigned as a ticket taker on October

20, 2017 (AC, ¶¶21-23); c) Plaintiff was excluded from meeting and communications pertaining

to the federal funds program “around mid-December 2017” and in February of 2018 (AC, ¶¶24-

25); d) on March 2, 2018, Plaintiff’s supervisor did not sign off on purchase orders Plaintiff had

put in; e) Plaintiff was forced to work in a remote part of the administration building, away from




1
  In accordance with the standard of review, the “facts” relevant to this Motion to Dismiss are
taken from the Plaintiff’s Second Amended Complaint. By no means does the District concur with
this rendition of the facts other than for the purpose of resolving this motion.
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co-workers (AC, ¶27)2; and f) Plaintiff was hung up on by the District superintendent on

September 5, 2017 and throughout her employment up until around the end of the 2017-2018

school year. (AC, ¶¶28-29).

        Plaintiff’s official last day of employment with the District was on June 30, 2018, when

her employment contract expired. Plaintiff’s actual last day when she was physically present on

District premises was June 4, 2018.3

        Plaintiff’s Second Amended Complaint asserts that she filed a Charge of Discrimination

with the Equal Employment Opportunity Commission (hereinafter “EEOC”) on April 4, 2019,

requesting dual filing with the Pennsylvania Human Relations Commission (hereinafter “PHRC”)

(AC, ¶¶11, 13).

        In her Second Amended Complaint, Plaintiff alleges that this action arises under three

statutes:    a) 42 U.S.C. §2000e et seq., as amended by the Civil Rights Act of 1991; b) 42 U.S.C.

§1981a; and c) the Pennsylvania Human Relations Act (AC, ¶1). Plaintiff sets forth three specific

counts in the Second Amended Complaint: a) Count I – Discrimination in Violation of Title VII

of the Civil Rights Act of 1964, 42 U.S.C. §2000e (“Title VII”) (AC, ¶¶ 30-36); b) Count II –

Discrimination in Violation of the Pennsylvania Human Relations Act (“PHRA”), 43 P.S. §§951-

963 (AC, ¶¶ 33-37)4; and c) Count III – Discrimination in Violation of 42 U.S.C. §1981 (AC, ¶¶

38-45). Under Count III, Plaintiff requests punitive damages. (AC, Wherefore clause p. 8)

        The District files the within Brief in Support of the Motion to Dismiss Plaintiff’s Amended

Complaint in its entirety, as Plaintiff fails to state a claim upon which relief can be granted. In the




2
  Plaintiff indicates that she was separated from her coworkers in 2015 (AC, Exhibit A, p. 4).
3
  Plaintiff was paid through the expiration of her contract at the end of June, 2018, despite no
longer being physically present at the District’s facilities as of June 5, 2018. (AC, Exhibit A, p. 2).
4
  Plaintiff appears to have inadvertently repeated the paragraphs numbered 33-36.
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alternative, the District respectfully requests that the Court find that Plaintiff has failed to state a

claim for which relief can be granted with respect to any punitive damages under Count III of

Plaintiff’s Second Amended Complaint.


                           II.      STANDARD OF REVIEW


       Federal Rule of Civil Procedure 12(b)(6) states that a complaint may be dismissed for

“failure to state a claim upon which relief can be granted.” Fed.R.Civ.P. 12(b)(6). In order to

survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted as true,

to “state a claim to relief that is plausible on its face.” Iqbal, 129 S.Ct. at 1949 (quoting Twombly,

550 U.S. at 570). In Iqbal, the Supreme Court outlined a two-part analysis that district courts must

conduct when reviewing a complaint challenged under 12(b)(6). See Flower v. UPMC Shadyside,

578 F.3d 203, 210–211 (3d Cir. 2009).

       In Fowler, this Court held that, following Iqbal, motions to dismiss for failure to state a

claim in civil cases should be subject to a two-part analysis.5 Fowler, 578 F.3d at 210–211. First,

the court should separate the factual and legal elements of a claim; it must accept any well-pleaded

facts as true but may disregard any legal conclusions. Id. Second, the court must determine whether

the well-pleaded facts are sufficient to show that the plaintiff has a “plausible claim for relief.” Id.

at 211. “In other words, a complaint must do more than allege the plaintiff's entitlement to relief.

A complaint has to ‘show’ such an entitlement with its facts.” Id. If the well-pleaded facts do no




5
  In Burtch v. Milberg Factors, Inc., 662 F.3d 212, 221 (3d Cir. 2011), cert. denied, 132 S. Ct.
1861 (2012), the Court added the step of first identifying the elements of the plaintiff’s cause of
action.
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more than permit the court to infer the mere possibility of misconduct, the complaint has not

“shown” that the pleader is entitled to relief.6 Id.

        The Court recognized in Fowler that both Twombly and Iqbal specifically repudiated the

earlier standard of Conley v. Gibson, 355 U.S. 41, 45-46 (1957), which permitted dismissal of a

complaint for failure to state a claim only if “it appear[ed] beyond doubt that the plaintiff can prove

no set of facts in support of his claim which would entitle him to relief.” Fowler, 578 F.3d at 210.

        A complaint must do more than allege the plaintiff’s entitlement to relief, but instead must

“show” such entitlement with its facts in order to survive a motion to dismiss. Id. Therefore,

“[d]etermining whether a complaint states a plausible claim for relief will . . . be a context-specific

task that requires the court to draw on its judicial experience and common sense.” McTernan v.

City of York, 577 F.3d 521, 530 (3d Cir. 2009) (quoting Iqbal, 129 S.Ct. at 1950).

        Although this Court must accept all well pleaded facts in the complaint as true, legal

conclusions are not “entitled to the assumption of truth.” Iqbal, 129 S. Ct. at 1950 (citation

omitted). Because Fed. R. Civ. P. 8 (a)(2) requires a showing, rather than a blanket assertion, of

entitlement to relief, courts evaluating the viability of a complaint must look beyond conclusory

statements and determine whether the complaint has alleged enough facts to state a claim to relief

that is plausible on its face. Bell Atlantic v. Twombly, 550 U.S. 544, 127 S. Ct. 1955, 1974, 167

L. Ed. 2d 929, 949 (2007).

        Indeed, it is not sufficient to allege mere elements of a cause of action; instead a complaint

must allege facts “to raise a right to relief above the speculative level.” Umland v. Planco

Financial Services, Inc., 542 F.3d 59, 64 (3d Cir. 2008) (quoting Philips v. County of Allegheny,




6
 Twombly and Iqbal are not satisfied by the presence of any factual allegations, but only by factual
allegations sufficient to support a plausible, rather than simply conceivable, claim.
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515 F.3d 224, 233 (3d Cir. 2008)). A claim has facial plausibility when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged. Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 1949, 173 L. Ed. 2d

868 (2009). Examination of the context of the claim, including the underlying substantive law is

therefore necessary in order to properly assess plausibility. Renfro v. Unisys Corp., 671 F.3d 314,

321 (citing In re Insurance Brokerage Antitrust Litigation, 618 F.3d 300, 320, n. 18 (3d Cir.

2010)).

                                        III.    ARGUMENT

A.        PLAINTIFF HAS NOT ALLEGED SEVERE OR PERVASIVE HARASSMENT
          BASED ON HER RACE.

          In order to maintain all claims asserted within Plaintiff’s Second Amended Complaint,

Plaintiff is required to allege that she was subject to racially motivated harassment that was

sufficiently severe or pervasive to alter the conditions of her employment. See Castleberry v. STI

Grp., 863 F.3d 259, 263 (3d Cir. 2017) (holding severe and pervasive harassment necessary to

maintain §1981 hostile work environment claims); Mandel v. M & Q Packaging Corp., 706 F.3d

157, 167 (3d Cir. 2013) (holding severe and pervasive harassment necessary to maintain Title VII

hostile work environment claims); Weston v. Pennsylvania, 251 F.3d 420, 426 (3d Cir. 2001)

(holding “[t]he proper analysis under Title VII and the Pennsylvania Human Relations Act is

identical, as Pennsylvania courts have construed the protections of the two acts interchangeably.”).

          Within her Second Amended Complaint, Plaintiff makes the bare assertion that she was

treated differently and experienced a hostile work environment because of her race. (AC, ¶¶ 32,

33, 35, 36, 41, 43). However, “[c]onclusory allegations of generalized racial bias do not establish

discriminatory intent.” Flagg v. Control Data, 806 F.Supp. 1218, 1223 (E.D.Pa.1992), aff'd, 998

F.2d 1002 (3d Cir.1993). As a result, Plaintiff is required to put forth specific allegations indicating
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that the instances contributing to a hostile work environment were in fact racially motivated. A

review of Plaintiff’s allegations reveal that she has provided absolutely no support of the assertion

that she was subjected to a hostile work environment due to her race. When one examines the

specific allegations of mistreatment of Plaintiff by the District in the Complaint, it is readily

apparent that Plaintiff has cited nothing more than isolated instances of alleged unfair treatment

by her employer. Other than conclusory statements, however, there are no specific facts set forth

which could allow a jury to conclude that this alleged unfair treatment was racially motivated –

e.g., that employees who were not African-American were treated more favorably.

        In the absence of any specific allegation whatsoever indicating that the District’s actions

were racially motivated, Plaintiff has failed to allege sufficiently severe or pervasive harassment

necessary to all of her claims. See Doe v. Triangle Doughnuts, LLC, 472 F. Supp. 3d 115, 131

(E.D. Pa. 2020) (dismissing plaintiff’s claims of hostile work environment based on race when

plaintiff had alleged “next to nothing” with respect to mistreatment based on her race); see also

Woodard v. PHB Die Casting, 255 F. App'x 608, 609 (3d Cir. 2007) (holding “[t]he discriminatory

conduct must be so extreme as to amount to a change in the terms and conditions of employment.

Unless they are extremely severe, offhand comments and isolated incidents are insufficient to

sustain a hostile work environment claim.”).

        Plaintiff has failed to allege the necessary element of severe and pervasive harassment

required of all of her claims. Accordingly, Plaintiff’s Second Amended Complaint must be

dismissed in its entirety.
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B.     PLAINTIFF HAS NOT ALLEGED AN ADVERSE EMPLOYMENT ACTION.

       To establish a prima facie case of discrimination under Title VII, the plaintiff must prove

that she belongs to a protected class; that she was qualified for the position; that she suffered an

adverse employment action; and the adverse action occurred under circumstances that give rise to

an inference of discrimination. Jones v. Sch. Dist. of Philadelphia, 198 F.3d 403, 410–12 (3d

Cir.1999).

       In order to give rise to a claim of racial discrimination under Title VII, an adverse

employment action must be “sufficiently severe as to alter the employee's ‘compensation, terms,

conditions, or privileges of employment,’ or to ‘deprive or tend to deprive [him or her] of

employment opportunities or otherwise adversely affect his [or her] status as an employee.’ ”

Robinson v. City of Pittsburgh, 120 F.3d 1286, 1296–97 (3d Cir.1997), abrogated on other grounds

by Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S. 53, 126 S.Ct. 2405, 165 L.Ed.2d 345

(2006) (quoting 42 U.S.C. § 2000e–2(a)(1) and (2)). Not every “insult, slight, or unpleasantness

gives rise to a valid Title VII claim.” Id. at 1297.

       For the reasons described above, the alleged conduct of the District is not sufficiently

severe as to alter the Plaintiff’s compensation, terms, conditions, or privileges of employment nor

does Plaintiff allege circumstances that give rise to an inference of discrimination through this

conduct. As a result, Plaintiff has failed to allege this necessary element for a claim of

discrimination under Title VII. For these same reasons Plaintiff, has failed to state a claim under

the PHRA based on the holding provided above in Weston v. Pennsylvania, 251 F.3d 420, 426 (3d

Cir. 2001). Accordingly Counts I and II of Plaintiff’s Second Amended Complaint must be

dismissed.
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C.     PLAINTIFF’S CLAIMS UNDER TITLE VII AND THE PHRA ARE TIME
       BARRED.

       The PHRA requires that the plaintiff file a complaint within 180 days after the alleged

discriminatory act. Rogan v. Giant Eagle, Inc., 113 F. Supp. 2d 777, 783 (W.D. Pa. 2000), aff'd,

276 F.3d 579 (3d Cir. 2001) In a dual filing jurisdiction such as Pennsylvania, if a plaintiff files a

complaint with a state or local agency with authority over the claim, she is allowed 300 days from

the date of the alleged discrimination within which to file a charge of employment discrimination

with the EEOC. 42 U.S.C. § 2000e–5(e). Id.

       “A hostile work environment claim is composed of a series of separate acts that collectively

constitute one “unlawful employment practice.” 42 U.S.C. § 2000e–5(e)(1). The timely filing

provision only requires that a Title VII plaintiff file a charge within a certain number of days after

the unlawful practice happened. It does not matter, for purposes of the statute, that some of the

component acts of the hostile work environment fall outside the statutory time period. Provided

that an act contributing to the claim occurs within the filing period, the entire time period of the

hostile environment may be considered by a court for the purposes of determining liability.” Natl.

R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 117 (2002).

       Based on the standard of statute of limitations above, Plaintiff’s claims under Title VII and

the PHRA would be time barred if she did not file her Charge of Discrimination with the EEOC

within 300 days of the latest act contributing to the alleged her alleged hostile work environment

claims. Based on the allegations of Plaintiff’s Second Amended Complaint, this latest alleged act

occurred “around the end of the 2017-2018 school year” when Superintendent, Ginny Hunt,

frequently hung up on Plaintiff. Plaintiff does not indicate an exact date when this conduct occurred

but she does provide within the exhibits to her Second Amended Complaint that the she was

escorted off of the premises on June 4, 2018. (AC, Exhibit A, p. 2). As of June 5, 2018, Plaintiff
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was no longer physically present at the District’s facilities; therefore, it is not possible that Plaintiff

was subject to any hostile work environment on or after this date.

        Based on this timeline, Plaintiff’s claims under these counts would be time barred after

March 31, 2020, or 300 days after the last possible act contributing to Plaintiff’s claims of a hostile

work environment. As provided above, Plaintiff made her dual filing with the EEOC and PHRC

on April 4, 2019 outside of this 300 day window. As a result, Plaintiff’s claims under Title VII and

the PHRA are time barred. Accordingly, Counts I and II of Plaintiff’s Second Amended Complaint

must be dismissed with prejudice.

D.      PLAINTIFF HAS NOT ALLEGED BUT-FOR CAUSATION REQUIRED FOR A
        §1981 CLAIM.

        To prevail on a §1981 claim, a plaintiff must initially plead and ultimately prove that, but

for race, they would not have suffered the loss of a legally protected right. Comcast Corp. v. Natl.

Assn. of African Am.-Owned Media, 140 S. Ct. 1009, 1019 (2020). Plaintiff has not alleged that

she was subjected to a hostile work environment but for her race. Accordingly, Plaintiff has failed

to allege a necessary element of her §1981 claim. Therefore, Count III of Plaintiff’s Second

Amended Complaint must be dismissed.

E.      THE DISTRICT IS IMMUNE FROM CLAIMS FOR PUNITIVE DAMAGES.

        Plaintiff seeks punitive damages under Count III of her Second Amended Complaint. As

a matter of public policy, punitive damages are not recoverable against a municipality in

Pennsylvania. See City of Newport v. Fact Concerts, Inc., 453 U.S. 247, 263 (1981); Feingold v.

SEPTA, 517 A.2d 1270, 1277 (Pa. 1986). A school district is a municipal agency and therefore

punitive damages are not recoverable against the District. Doe by Brown v. Harrisburg Sch. Dist.,

1:19-CV-1027, 2020 WL 4584372, at *6 (M.D. Pa. Aug. 10, 2020). Accordingly, in the event that
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the Court does not grant Defendant’s request for the outright dismissal of Plaintiffs’ Second

Amended Complaint, Plaintiff’s claim for punitive damages must be dismissed.

                                      IV.      CONCLUSION

       For the reasons set forth above, the Defendant, Clairton City School District respectfully

requests that the Court find that Plaintiff has failed to state a claim for which relief can be granted

with respect to all counts of Plaintiff’s Second Amended Complaint. Accordingly, Plaintiff’s

Second Amended Complaint must be dismissed with prejudice. In the alternative, the District

respectfully requests that the Court find that Plaintiff has failed to state a claim for which relief

can be granted with respect to any punitive damages under Count III of Plaintiff’s Second

Amended Complaint.

                                                Respectfully submitted,

                                                ANDREWS & PRICE

                                            By: /s/ Joseph W. Cavrich
                                                Joseph W. Cavrich, Esq.
                                                P.A. I.D. No. 52693
                                                Firm No. 549
                                                1500 Ardmore Boulevard, Suite 506
                                                Pittsburgh, PA 15221
                                                (412) 243-9700
                                                Attorneys for the Defendant
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                             CERTIFICATE OF COMPLIANCE
       I hereby certify that I have complied with the Court’s Order of December 6, 2021 (ECF

No. 6), which obligated the undersigned counsel to make a good faith effort to meet and confer

with Plaintiff’s counsel before filing the within motion to determine whether any pleading defects

were curable by amendment, thereby obviating part or all of the motion.

                                             /s/ Joseph W. Cavrich
                                             Joseph W. Cavrich, Esq.
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 31, 2022, the foregoing was filed electronically. Notice of

this filing will be sent to all parties by operation of the Court’s electronic case filing system and

constitutes service of this filing under Rule 5(b)(2)(E) of the Federal Rules of Civil Procedure.

Parties may access this filing through the Court’s ECF system.




                                              /s/ Joseph W. Cavrich
                                              Joseph W. Cavrich
